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1/25/2007

Maura

-»--On`gieal Message--»-
Frem: Newmerk, Cemle
Sent: °l'u'esdey, Mey 30; 2006 11:51 AM

Tc: De]bene§ Maura -
Subject: RE: meetlng, time to talk about Pel!ietlve Care Servlce

' Meure, l-lo\mr ebeui Thursdey 312:(}0] unlees ell heil breaks loese? Cerole

Carole Newme rk,. LCSW

dm--~C>riginel Messege-~
From: Delbene, Meure
Sent: Tues£iay, May 38,- 2006 12:42 PM

To: Newma:l<, Care|e
Subject: RE: meeting time to talk about Pe|liatlve` Care Service

Cerole

No problem - long weekends are a hless§ng- Unfc)rl;unaiely l need to be
` at Jeneer: Hosplce fer'e 9 em meeting (cmly happens weekly).

Cen we de Fridey at 9? Othemlise, l em available Wednesday of
Thuredey any time after 12 noen_

Thanks!r

Maura `

Palliatlve Cere Sewice
Lewrence l-leepital Center
Vc;iee 914-787-4190
Beeper §14~7 8?-54»44 # 601

Paif:'e‘tive Cere is interd;ls~c:'plinery cale that aims fe relieve suffering end
improve quality of life
for patienis with sedous or life threatening illness.
----Original Messege--~-
Frol`n: Newmark, Carole
Sent: 'l'uesclay, May 30, 2066 11:06 AM
To: De|bene, Maura . -
Subject: RE: meeling time in talk about Pal|iatlve Care Serviee

i-li Meure_,

Sorry l did not get beck to you sooner, lt‘s been heeth with the
long weekend, e?c.

Cen you meet with me ’cc)rmc)rr@l\.'l Wedneedey et aboui QAM?
We can meet in my alice where lt is quiet and out of the wey.
Thenlcs, Cerole ` 7 _

€e role Newmerk, LCSW

-Originel Message---

Frem: De§bene, Meure,

Sent: Thursclay, May 25, 2086 2:03 PM

'i'o: l\lewmarl<, Carele

Subject: meeting time to talk about Pa§|letive Care Sewice

N-129

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l-li Caroie

l Was wondering if there was a time that you end l couicl meet to
talk about now the Pa|iiative Care`Ser'sice can be or’ assistance
lt would be good to hear about the socia§ work role in the
hospital, the newly diagnosed cancer patient pathway and even
your ”wish list" for having a palliative care service eto.

My esheciu§e is open so l look to you to recommend a time.
Tlianicsl

Mau ra

l\ilaura

Palliative Care Service '
Lawrence l-lospital Center
Voice 914-?874190
Beeper 914-787-5444 # 601

Pailiafr`ve Cere is inferdiscipifna:y care that aims to relieve
suffering end improve quality of fife _
for patients Wifh serious or life threatening illness

 

Note: 7 - -

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Subjec'f

Start at l_awrence

Caro|e Newmark meeting
Carole Newmark tVItg

Socia| Workers Weekty meeting
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Socia! Workers Weekiy meeting
Socia| Workers Weet<|y meeting
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Social Workers Week|y meeting
Social Wort<ers Week|y meeting
Socia| Workers Weekly meeting
Oh_are end Ma_gone

Sociel Wol'kers Week]y meeting
Socia| Workers Weet<]y meeting

Colurnbus Ohio for CAPC Training
Columbus Ohio for-CAPC Training
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Starf Da’£e

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6/1212006

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err/2006

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' aes/2006

9/13¢2006

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9/1512006

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Filed 07/11/2008

Start Time
2:00:00 PlVl
8:30:00 PM
7:00:00 PM

2200100 PM '

2:00:00 PM
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End Date

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End Time

5!22/2006 1:00:00 PM

eli/2006 8:30:00 PM

simons 7:00:00 PM
6112/2006 2:00:00 PM
6/26i2006 Z:OO:OO PM
7!10;2006 2:00:00 PM
7117/2006 2:00:00 PM
7124!2006 2:00:00 PM
7131/2006 2;00;00 PM

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8114;2006 2:00:00 PM
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